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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                   GREENVILLE DIVISION

    The United States of America,                 )
                                                  )       Criminal Action No. 6:04-cr-00022-JMC
                                                  )
           v.                                     )
                                                  )          ORDER AND OPINION
Derrick Earl Miller,                              )
                                                  )
                                   Petitioner.    )
                                                  )

           This matter is before the court upon Petitioner Derrick Earl Miller’s (“Petitioner”) pro se

    Motion to Appoint Counsel (ECF Nos. 984, 985.) 1 For the reasons discussed below, the court

    DENIES Petitioner’s Motions to Appoint Counsel (ECF Nos. 984, 985).

                      I.   RELEVANT BACKGROUND TO THE PENDING MOTION

           On March 21, 2005, Petitioner pled guilty to charges related to three bank robberies. (ECF

    No. 184.) On July 8, 2005, Petitioner was sentenced to a total term of 754 months. (ECF No. 226.)

    Petitioner appealed his sentence, but the Fourth Circuit affirmed the judgment of the district court.

    (ECF No. 239.) On June 21, 2007, Petitioner filed a motion to vacate his sentence pursuant to 28

    U.S.C. § 2255. (ECF No. 257.) Petitioner’s § 2255 motion was denied on August 26, 2008. (ECF

    No. 344.) Petitioner appealed the district court’s order denying his § 2255 motion. (ECF No. 357.)

    The Fourth Circuit dismissed the appeal and denied the certificate of appealability. (ECF Nos. 401,

    402, 408, 496.)

           On September 22, 2008, Petitioner filed a motion in the district court for leave to file a

    successive § 2255 motion. (ECF No. 359.) On April 7, 2009, the district court dismissed without

    prejudice Petitioner’s motion explaining that a successive § 2255 motion may not be filed in the



1
 The court observes that Petitioner’s Motion was filed twice on the docket as ECF No. 984 and
ECF No. 985. The court addresses both entries simultaneously, as they are the same document.
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district court unless the movant received permission from the Fourth Circuit. (ECF No. 392.) On

May 9, 2014, the Fourth Circuit denied Petitioner’s successive application for relief under § 2255.

(ECF No. 735.) On January 12, 2015, Petitioner filed a motion to relate back to his § 2255 motion.

(ECF No. 741.) On May 14, 2015, Petitioner’s motion to relate back to his § 2255 motion was

denied. (ECF No. 751.) On May 27, 2016, Petitioner filed a Motion to Appoint Counsel (ECF No.

762.), and the court denied such request on December 27, 2016 (ECF No. 797). Petitioner filed a

Motion for Reconsideration regarding the court’s December 27, 2019 decision on January 23,

2017. The court denied Petitioner’s request for counsel again on June 13, 2017 (ECF No. 848),

noting that “[Petitioner] has knowingly, intelligently, and voluntarily waived his right to court-

appointed counsel.” (ECF No. 257 at 7.) (“At a pretrial hearing held on January 28, 2005, I [Derrick

Miller] asked the court if I could be allowed to fire the Court appointed attorney and retain counsel

of my choice.”). The court now rules on Petitioner’s third Motion to Appoint Counsel (ECF Nos.

984, 985.)


                            II.       LEGAL STANDARD AND ANALYSIS

       The applicable standard in motions to appoint counsel is under 18 U.S.C. 3006(a)(2) which

allows, when the court determines that the interest of justice so requires, representation to be

provided for any financially eligible person who is seeking relief under section 2241, 2254, or

2255 of Title 28. Pursuant to section 2241, a prisoner may seek relief under habeus corpus.

Pursuant to section 2254, a district court can entertain an application for a writ of habeas corpus

on behalf of a person in custody pursuant to the judgment of a State court only if he is in custody

in violation of the Constitution or laws or treaties of the United States. Under section 2255, a

prisoner in custody claiming the right to be released upon the ground that the sentence was imposed

in violation of the Constitution or laws of the United States, or that the court was without

jurisdiction to impose such sentence, or that the sentence was in excess of the maximum authorized
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 by law, or is otherwise subject to collateral attack, may move the court which imposed the sentence

 to vacate, set aside or correct the sentence, unless the motion and the files and records of the case

 conclusively show that the prisoner is entitled to no relief. However, there is no constitutional or

 statutory right to appointed counsel in post-conviction proceedings pursuant to § 2255. See

 Pennsylvania v. Finley, 481 U.S. 551, 555 (1987); United States v. Williamson, 706 F.3d 405, 416

 (4th Cir. 2013). Appointment of counsel may be authorized if the “court determines that the

 interests of justice so require ... for any financially eligible person who ... is seeking relief under

 [§ 2255]. 18 U.S.C. § 3006A(2).

                                             III. DISCUSSION

        Petitioner already argued in a prior petition that he no longer has available relief by and

 through habeus corpus proceedings (ECF No. 762) and thus Petitioner is not seeking relief under

 any of the aforementioned sections. Petitioner, instead, argues that he seeks the appointment of

 counsel to help him “perfect an appeal” (ECF No. 987 at 3.) Further, based on the myriad of

 pleadings and motions that Petitioner has filed to date, he has demonstrated competency in the

 presentation of his case and arguments and is capable of addressing legal issues, and advocating

 effectively on his behalf. Therefore, this court DENIES Petitioner’s Motions to Appoint Counsel

 (ECF Nos. 984, 985).

                                       IV. CONCLUSION

   Based on the aforementioned reasons, the court DENIES Petitioner’s Motions to Appoint

Counsel. (ECF Nos. 984, 985.)


        IT IS SO ORDERED.



                                                                United States District Judge
 February 3, 2020
 Columbia, South Carolina
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